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Case 2:24-mj-00211 Document4 Filed 12/10/24 Page 1 of 5 PagelD# 6

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

Your affiant, Rachelann Cardwell, does swear and affirm the following to be true and

accurate to the best of my knowledge and belief:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Federal Task Force Officer with the Federal Bureau of Investigation and
have been since May 2015. I joined the Suffolk Police Department in March of 2009 and was
promoted to Detective in 2011. J am currently a Detective with the Suffolk Police Department and
assigned to the Norfolk Federal Bureau of Investigation (FBI) on the Joint Terrorism Task Force
(JTTF) since May of 2015 as a Federal Task Force Officer. I have conducted numerous felony
investigations, which have led to arrests and prosecutions during my career. While on the JTTF I
have worked International and Domestic Terrorism cases which have led to Federal arrests and
prosecutions. I have had numerous trainings provided by my department focusing on violent
crimes, social media exploitation, cell phone analysis. While at the FBI I have had numerous
trainings in reference domestic and international terrorism, to include ideologies, extremist
behaviors, and recruitment techniques over the course of my law enforcement career. I have been
the principal investigator in state and federal investigations involving violent incident crimes, bank
robbery, violations of the Hobbs Act, gun violations, and Material Support to Terrorism. Through
experience and training, I have become familiar with the methods and schemes employed by
criminals to use encrypted applications and VPNs to mask their criminal activity.

2. I am familiar with, and have utilized, a wide variety of investigative techniques,
including but not limited to the development of cooperating sources, physical surveillance,
telephone toll record analysis, pen registers, requesting and serving grand jury subpoenas, search

warrants applications, arrest warrants, and electronic surveillance. As a result of my training and
Case 2:24-mj-00211 Document4 Filed 12/10/24 Page 2 of 5 PagelD# 7

experience as a Federal Task Force Officer for the FBI, 1 am familiar with Federal and State laws
and statutes. The facts in this Affidavit come from my personal observations, my training and
experience, my review of documents, and information obtained from other agents and witnesses.

3. This affidavit is submitted in support of an application for a criminal complaint
charging BRAD KENNETH SPAFFORD with a violation of Title 26 U.S.C § 5861(d) (unlawful
possession of firearms, namely, the possession of an unregistered short-barrel rifle).

4. The facts and information contained in this affidavit are based upon my training
and experience, participation in firearms and narcotics investigations, personal knowledge, and
observations during this investigation, as well as the observations of other law enforcement
officers involved in this investigation. All observations not personally made by me were relayed
to me by the individuals who made them or were conveyed to me by my review of records,
documents, and other physical evidence obtained during this investigation.

5. This affidavit is being submitted for the limited purpose of obtaining a criminal
complaint and arrest warrant. I have set forth only those facts that I believe to be necessary to
establish probable cause for the charges described below and have not included each and every
fact and matter observed by me or known to the Government.

FACTS SUPPORTING PROBABLE CAUSE

6. On or about January 17, 2023, a confidential human source (CHS) provided
information that SPAFFORD disfigured his hand on or about July 4, 2021 while working with a
homemade explosive device, and was stockpiling weapons and homemade ammunition. The
CHS observed SPAFFORD’s hand both before and after the event, and saw that several fingers

were missing after the event. The CHS reported that SPAFFORD and his friends are preparing
Case 2:24-mj-00211 Document4 Filed 12/10/24 Page 3 of 5 PagelD# 8

for something that SPAFFORD would not be able to do alone. SPAFFORD told the CHS that he
makes approximately 50 rounds of ammunition per day.

7. On or about May 20, 2023, the CHS and SPAFFORD went to a gun range in the
City of Suffolk and went shooting. Both the CHS and SPAFFORD brought their own weapons.
The CHS brought a registered short barrel rifle and SPAFFORD also brought a rifle in addition
to other weapons. The CHS advised that based on their prior experience the rifle SPAFFORD
brought to the range appeared to be under 16 inches. The CHS was unable to lay their registered
short barrel rifle beside SPAFFORD’s for confirmation but believes this was in fact a short barrel
rifle.

8. The CHS provided additional information that SPAFFORD created a “go box” for
the back of his vehicle. From my training and experience, I know a “go box” to be a box or bag
that has been modified with medical supplies, weapons, ammunition, food and water in the event
one needs to act fast to a situation because it is staged for quick access and movement.
SPAFFORD sent pictures of the “go box” in the back of a SUV to the CHS on or about
September 14, 2023. This vehicle appears to be a car known to be owned by SPAFFORD. The
pictures showed several rifles, of which one appeared to be a short barrel rifle, ammunition,
medical kits, Tyvek suits, food, water, and other weapons inside the “go box”.

9. On or about November 27, 2023, SPAFFORD informed the CHS that he has a 10”
barrel rifle. Federal law defines a short-barreled rifle as a rifle with a barrel shorter than sixteen
inches in length. 26 U.S.C. § 5845(a).

10. On or about December 21, 2023, the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) responded to a request from the Norfolk FBI in reference to SPAFFORD
Case 2:24-mj-00211 Document 4 Filed 12/10/24 Page 4 of 5 PagelD# 9

having a tax stamp. The ATF responded that SPAFFORD does not have any tax stamps or
registered short barrel rifles on file.

11. On October 19, 2024, the CHS met with SPAFFORD at SPAFFORD’s residence
in Smithfield, Virginia. During the meeting SPAFFORD informed the CHS that he has a short
barrel rifle which is not registered because he does not believe in registration. SPAFFORD
informed the CHS that he moved many hundred-pound boxes of ammunition to the SUBJECT
PREMISES, but he does not have 10,000 rounds yet.

12. On or about December 6, 2024 the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) responded to a request from the Norfolk FBI in reference to SPAFFORD
having a tax stamp. The ATF responded that SPAFFORD does not have any tax stamps or
registered short barrel rifles on file and does not have a license to have explosive materials.

13. Onor about November 20, 2024, the photograph of the short barrel rifle from the
“go box” was sent to Agent Megan Shumaker who is a FBI Special Agent and is a Federal Task
Force Officer at the ATF and she advised based on her training and experience, this appears to be
an SBR based off the photograph. The barrel is not likely to be 16 inches.

CONCLUSION

19. Based on the information and evidence set forth above, I respectfully submit that
there is probable cause to establish that on or about October 19, 2024, in Smithfield, in Isle of
Wight County, in the Eastern District of Virginia, BRAD KENNETH SPAFFORD, violated 26
U.S.C § 5861(d) by knowingly possessing a firearm, that is: a short barrel rifle as defined in 26
U.S.C. § 5845(a), which was not registered to the defendant in the National Firearms

Registration and Transfer Record, as required by 26 U.S.C. § 5841.
Case 2:24-mj-00211 Document 4 Filed 12/10/24 Page 5 of 5 PagelD# 10

20. Accordingly, I request that the complaint and an arrest warrant be issued, charging

BRAD KENNETH SPAFFORD with this offense.

Further your affiant sayeth naught.

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Rachelann Cardwell, Task Force Officer
Federal Bureau of Investigation (FBI)

Sworn and subscribed to before me this / Pains of December 2024.

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UNITED STATES MAGISTRATE JUDGE

